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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION




UNITED STATES OF AMERICA                 )
             Plaintiff,                  )
                                         )     No. 15 CR 515
                                         )
                                         )
                                                    Honorable John Z. Lee
ALBERT ROSSINI
             Defendant.


DEFENDANT ALBERT ROSSINI’S MOTION TO EXTEND BY 7 CALENDAR DAYS
THE FILING OF ROSSINI’S SENTENCING MEMORANDUM, WHILE PRESERVING
AND MAINTAINING THE SCHEDULED SENTENCING DATE OF AUGUST 20, 2021



 NOW COMES, ATTORNEY CLARENCE BUTLER JR., OF THE LAW OFFICE OF

CLARENCE BUTLER JR., Defense Counsel For Albert Rossini, And Respectfully Hereby
Submits To This Honorable Court, Defendant Albert Rossini’s Motion To Extend By 7 Calendar
Days The Filing Of Rossini’s Sentencing Memorandum, While Preserving And Maintaining The

Scheduled Sentencing Date Of August 20, 2021.


 Counsel visited Albert Rossini this Friday morning at 8:00 a.m., July 30, 2021, at the
Metropolitan Correctional Center, whereupon Rossini tendered over 60 pages of new material
and documents, including factual disclosures and critical information prepared by Rossini, not
previously provided to counsel. Rossini adamantly demands that the material and analysis be
incorporated in his sentencing memorandum due today, which based on the totality of
circumstances is an impossibility.

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 Please be advised that counsel is not requesting a continuance of the August 20, 2021
sentencing date. Counsel is only requesting a seven day extension in which to file Rossini’s
sentencing memorandum, based on today’s Rossini submission. Counsel has contacted the
government and they have no objection to Rossini’s motion to extend by 7 calendar days the
filing of Rossini’s sentencing memorandum, while preserving and maintaining the scheduled
sentencing date of August 20, 2021.



   WHEREFORE Based On The Foregoing, defense counsel hereby request Rossini’s motion be

granted.



Respectfully submitted,
s/Clarence Butler Jr.
Clarence Butler Jr.
Attorney-at-Law




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